     Case 4:23-cv-00029-O Document 27 Filed 03/19/23              Page 1 of 24 PageID 514



                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                FORT WORTH DIVISION

POLYMER80, INC.,                                §
                                                §
        Plaintiff,                              §
                                                §
v.                                              §      Civil Action No. 4:23-cv-00029-O
                                                §
MERRICK GARLAND, et al.,                        §
                                                §
        Defendants.                             §

      OPINION & ORDER ON POLYMER80, INC.’S MOTION FOR TEMPORARY
            RESTRAINING ORDER AND PRELIMINARY INJUNCTION

        Before the Court are Plaintiff Polymer80, Inc.’s Motion for Temporary Restraining Order

and Preliminary Injunction (ECF No. 14) and Brief in Support (ECF No. 15), filed March 7,

2023; Defendant’s Response (ECF No. 20), filed March 9, 2023; and Plaintiff’s unopposed

Motion for Leave to File Reply in Excess of Page Limit and Reply (ECF No. 26), filed March

26, 2023. Because there is good cause and the motion is unopposed, the Court GRANTS

Plaintiff’s motion to file an overlength brief (ECF No. 26). Having considered the parties’

briefing and applicable law, the Court GRANTS Plaintiff’s motion for leave to file an

overlength brief (ECF No. 26) and for a temporary restraining order and preliminary injunction

(ECF No. 14). Because it is not a jurisdictional issue relating to this Court’s power to adjudicate

the instant motion, the Court RESERVES ruling on the issue of venue raised in Defendant’s

response and pending Motion to Dismiss Complaint for Improper Venue or, in the Alternative, to

Transfer Venue (ECF No. 12), filed March 7, 2023.

     I. INTRODUCTION

           a. Statutory & Regulatory Background

        The Gun Control Act of 1968 regulates firearms in interstate commerce. 18 U.S.C. § 921
  Case 4:23-cv-00029-O Document 27 Filed 03/19/23                Page 2 of 24 PageID 515



(“GCA” or “the Act”). Among other things, the Act requires manufacturers and dealers of

firearms to have a federal firearms license. Id. § 923(a). Dealers must also conduct background

checks before transferring firearms to someone without a license, and they must keep records of

firearm transfers. Id. §§ 922(t), 923(g)(1)(A).

       The Act defines the term “firearm” four different ways: “(A) any weapon (including a

starter gun) which will or is designed to or may readily be converted to expel a projectile by the

action of an explosive; (B) the frame or receiver of any such weapon; (C) any firearm muffler or

firearm silencer; or (D) any destructive device.” Id. § 921(a)(3). But “[s]uch term does not

include an antique firearm.” Id. Congress delegated authority to administer and enforce the Act

to the Attorney General. Id. § 926(a). The Attorney General, in turn, delegated that authority to

the Director of the Bureau of Alcohol, Tobacco, Firearms and Explosives (“ATF”). 28 C.F.R.

§ 0.130(a).

       In 1968, ATF promulgated a rule interpreting the phrase “frame or receiver.” The rule

defined the “frame or receiver” of a firearm as “[t]hat part of a firearm which provides housing

for the hammer, bolt or breechblock, and firing mechanism, and which is usually threaded at its

forward portion to receive the barrel.” Commerce in Firearms and Ammunition, 33 Fed. Reg.

18,555, 18,558 (Dec. 14, 1968) (codified at 26 C.F.R. § 178.11). In the decades since, ATF’s

definition of “frame or receiver” remained in place until the recent promulgation of the Final

Rule. And the agency has not made any indication that it was changing course with respect to its




                                                  2
    Case 4:23-cv-00029-O Document 27 Filed 03/19/23                  Page 3 of 24 PageID 516



interpretation of the Act.1 Indeed, on three occasions in the last eight years, ATF confirmed that

Polymer80’s products are not “firearms” for purposes of the GCA.2

        However, in April 2022, ATF published a Final Rule changing, among other things, the

1968 definition of “frame or receiver.” See Definition of “Frame or Receiver” and Identification

of Firearms, 87 Fed. Reg. 24,652 (Apr. 26, 2022) (codified at 27 C.F.R. pts. 447, 478, and 479).

The Rule took effect on August 24, 2022. ATF split the phrase into two parts, assigning the term

“frame” to handguns and the term “receiver” to any firearm other than a handgun, such as rifles

and shotguns. See 27 C.F.R. § 478.12(a)(1), (a)(2). ATF then defined the terms “frame” and

“receiver” along the same lines as the 1978 rule, though with updated, more precise technical

terminology.3 But ATF did not stop there.

        Rather than merely updating the terminology, ATF decided to regulate partial frames and

receivers. Under the new Final Rule, “[t]he terms ‘frame’ and ‘receiver’ shall include a partially

1
  See, e.g., Gov’t’s Mot. to Dismiss, California v. ATF, No. 3:20-cv-06761, 2020 WL 9849685 (N.D. Cal.
Nov. 30, 2020) (“Congress has chosen to exclude firearm parts from the scope of the GCA, including
parts that could be assembled with a homemade receiver and frame to make a firearm.”).
2
  Pl.’s Br. 6–7, ECF No. 15; Pl.’s App. 140–56, ECF No. 16, Classification Letter, Bureau of Alcohol,
Tobacco, Firearms & Explosives (Jan. 18, 2017) (determining Polymer80’s PF940C pistol blank frame is
not a firearm); Pl.’s App. 130–148, ECF No. 16, Classification Letter, Bureau of Alcohol, Tobacco,
Firearms & Explosives (Nov. 2, 2015) (determining Polymer80’s Glock-type GC9 pistol frame blank and
Warrhogg receiver blank are not firearms); and Pl.’s App. 158–59, ECF No. 16, Classification Letter,
Bureau of Alcohol, Tobacco, Firearms & Explosives (Feb. 3, 2015) (determining Polymer80’s AR-15
pattern receiver blank is not a firearm).
3
  The two terms are defined as follows:

        (1) The term “frame” means the part of a handgun, or variants thereof, that provides
            housing or a structure for the component (i.e., sear or equivalent) designed to hold
            back the hammer, striker, bolt, or similar primary energized component prior to
            initiation of the firing sequence, even if pins or other attachments are required to
            connect such component (i.e., sear or equivalent) to the housing or structure.

        (2) The term “receiver” means the part of a rifle, shotgun, or projectile weapon other
            than a handgun, or variants thereof, that provides housing or a structure for the
            primary component designed to block or seal the breech prior to initiation of the
            firing sequence (i.e., bolt, breechblock, or equivalent), even if pins or other
            attachments are required to connect such component to the housing or structure.

27 C.F.R. § 478.12(a).
                                                   3
    Case 4:23-cv-00029-O Document 27 Filed 03/19/23                    Page 4 of 24 PageID 517



complete, disassembled, or nonfunctional frame or receiver, including a frame or receiver parts

kit, that is designed to or may readily be completed, assembled, restored, or otherwise converted

to function as a frame or receiver.” Id. § 478.12(c). But “[t]he terms shall not include a forging,

casting, printing, extrusion, unmachined body, or similar article that has not yet reached a stage

of manufacture where it is clearly identifiable as an unfinished component part of a weapon (e.g.,

unformed block of metal, liquid polymer, or other raw material).” Id. When determining whether

an object is a frame or receiver, the ATF Director is not limited to looking only at the object.

“When issuing a classification, the Director may consider any associated templates, jigs, molds,

equipment, tools, instructions, guides, or marketing materials that are sold, distributed, or

possessed with the item or kit . . . .” Id. To determine whether an object may “readily” be

converted into a firearm, ATF may consider relevant factors such as (1) time, (2) ease, (3)

expertise, (4) equipment, (5) parts availability, (6) expense, (7) scope, and (8) feasibility. Id. §

478.11. The Final Rule also amends ATF’s definition of “firearm” to include weapon parts kits.

The ATF’s new definition of “firearm” “shall include a weapon parts kit that is designed to or

may readily be completed, assembled, restored, or otherwise converted to expel a projectile by

the action of an explosive.” Id.

        In the months since the Final Rule was published, on December 27, 2022, ATF issued

informal guidance to industry members, identifying specific manufacturers of frame and receiver

blanks and particular products that ATF considered subject to the Final Rule (“Open Letter”).4

The same day, and without having received a classification request, ATF sent a letter to

Polymer80 identifying several of the company’s products as “firearms” for purposes of the GCA


4
  Pl.’s App. 108–17, ECF No. 16, Open Letter to All Firearm Licensees 1, Bureau of Alcohol, Tobacco,
Firearms & Explosives (Dec. 27, 2022) (identifying “partially complete Polymer80 . . . striker-fired
semiautomatic pistol frames, including, but not limited to, those sold within parts kits” as “frames” and,
therefore, “firearms” for purposes of the GCA).
                                                    4
    Case 4:23-cv-00029-O Document 27 Filed 03/19/23                Page 5 of 24 PageID 518



and the Final Rule, even when those items are sold separately and not in a kit (“Polymer80

Letter”).5 Less than two weeks later, Polymer80 filed this lawsuit and sought to intervene in a

related lawsuit.6

           b. Procedural Background

       The Court is currently addressing challenges to ATF’s Final Rule in Vanderstok v.

Garland, No. 4:22-CV-00691-O (N.D. Tex. filed Aug. 11, 2022). Though the Vanderstok

plaintiffs did not raise all of the same claims as Polymer80, they raised some identical claims,

including that the Final Rule exceeds the lawful scope of ATF’s statutory authority under the

GCA.7 That case was filed in early August, after the Final Rule was announced on April 26,

2022 and before it took effect on August 24, 2022. Within a week of filing suit, the Vanderstok

plaintiffs moved for a nationwide injunction.8 The Court denied that request for relief on

September 2, 2022.9

       In the weeks and months following that September decision, Polymer80 “attempted in

good faith to comply with the Final Rule.”10 But after receiving the Open Letter and Polymer80

Letter from ATF in December 2022 and learning it would be “forced . . . to discontinue sales of

unfinished-frame kits and unfinished frames as they are currently designed,” Polymer80 sought

to intervene in the Vanderstok litigation as other successful intervenors had.11 Simultaneously,



5
  Pl.’s App. 119–28, Letter to Polymer80, Bureau of Alcohol, Tobacco, Firearms & Explosives (Dec. 27,
2022); Kelly Decl. ¶ 12, Pl.’s App. 4–5, ECF No. 16.
6
   Compl., ECF No. 1; Pl.’s Mot. to Intervene, Vanderstok, No. 4:22-CV-00691-O (N.D. Tex. Jan. 9,
2023).
7
   Compl., Vanderstok, No. 4:22-CV-00691-O (N.D. Tex. Aug. 11, 2022) (claiming the Final Rule was
issued in excess of ATF’s statutory jurisdiction and authority (Count I)); Pl.’s Compl. 31, ECF No. 1
(same).
8
  Mot. for Prelim. Inj., Vanderstok, No. 4:22-CV-00691-O (N.D. Tex. Aug. 18, 2022).
9
  Opinion & Order, Vanderstok, No. 4:22-CV-00691-O (N.D. Tex. Sept. 2, 2022).
10
   Kelley Decl. ¶ 14, Pl.’s App. 5, ECF No. 16.
11
    Kelley Decl. ¶ 15, Pl.’s App. 6, ECF No. 16 (emphasis added); Pl.’s Reply 18, ECF No. 26-1; see
generally Vanderstok, No. 4:22-CV-00691-O (N.D. Tex. filed Aug. 11, 2022).
                                                 5
     Case 4:23-cv-00029-O Document 27 Filed 03/19/23                 Page 6 of 24 PageID 519



Polymer80 filed its own lawsuit.12 Six weeks later on March 7, 2023, Polymer80 filed the instant

TRO and sought an expedited briefing schedule, which the Court granted.13 Earlier that day, the

Government filed a motion to dismiss or transfer based on improper venue and sought its own

expedited briefing schedule.14 On March 12, 2023, the Court denied the Government’s motion to

expedite on grounds that the motion to dismiss or transfer identified no emergency and did not

challenge anything running to the merits of the case or ability to hear it, such as the Court’s

subject matter jurisdiction.15

           c. The Parties

        Plaintiff Polymer80, Inc. is a commercial enterprise that “manufactures, markets, and

distributes firearms, non-firearm products such as receiver blanks (partially complete,

disassembled, or nonfunctional frames), and other innovative products, components and

accessories,” such as jigs, tools, and associated parts kits.16 Polymer80’s core business is selling

these items, which are subject to the Final Rule.17 For years, and based on ATF’s representations

that the company’s products were not “firearms,” Polymer80 structured “its business model,”

“invested capital,” and lawfully sold receiver blanks directly to consumers throughout the

country and in this district.18 After Final Rule was promulgated, and in a good faith effort to

comply with the Rule, Polymer80 stopped selling its receiver blanks with accompanying jigs.19

However, ATF’s Open Letter and Polymer80 Letter make clear that even selling blanks




12
   Compl., ECF No. 1.
13
   Pl.’s Mot., ECF No. 14; Pl.’s Mot. to Expedite, ECF No. 17; Order, ECF No. 18.
14
   Def.’s Mot. to Dismiss, ECF No. 12; Def.’s Mot. to Expedite, ECF No. 19.
15
   Order, ECF No. 22.
16
   Compl. 1–2, ECF No. 1.
17
   Kelley Decl. ¶ 5, Pl.’s App. 3, ECF No. 16.
18
   Id. ¶ 9.
19
   Id. ¶ 14.
                                                   6
     Case 4:23-cv-00029-O Document 27 Filed 03/19/23                    Page 7 of 24 PageID 520



separately is violative of the Final Rule.20 The inability to sell receiver blanks or parts kits has

“caused profound economic harm to Polymer80 and threaten[s] its very existence as a going

concern.”21 Without immediate relief, Polymer80 estimates it “can survive as a corporate entity

for perhaps as little as three weeks.”22

        Plaintiff has sued the Attorney General, Department of Justice, ATF, and the ATF

Director over the Final Rule and its implementation of the regulation.23 Plaintiff now asks the

Court to enter a temporary restraining order (“TRO”) and enjoin Defendants from enforcing or

otherwise implementing (e.g., through informal guidance letters or otherwise) the Final Rule

against Plaintiff.24

        Plaintiff attacks ATF’s Final Rule and subsequent guidance letters as unlawful in several

respects: (1) that “ATF has exceeded its statutory authority by creating and implementing a new

definition of ‘firearm’ [that] contradicts the plain language of the Gun Control Act” and that

ATF’s attempts to implement the regulation are arbitrary and capricious;25 (2) that the Final Rule

violates Polymer80’s First Amendment rights because the regulation “is a content-based

restriction on protected speech” that cannot pass strict scrutiny;26 (3) that the Final Rule in

conjunction with the ATF letters violate Polymer80’s Second Amendment rights by regulating

constitutionally protected conduct “in a way that is inconsistent with the Nation’s historical

tradition of firearm regulation” contrary to Supreme Court precedent;27 and (4) that the Final

Rule in conjunction with the ATF letters violate Polymer80’s Fifth Amendment rights because


20
   Id.
21
   Id. ¶ 16.
22
   Id. (dated Mar. 7, 2023).
23
   Compl. 5–6, ECF No. 1.
24
   Pl.’s Mot. 1, ECF No. 14.
25
   Pl.’s Mot. 2, ECF No. 14; Pl.’s Br. 13, ECF No. 15.
26
   Pl.’s Br. 14, ECF No. 15.
27
   Id. at 16 (analyzing New York State Rifle & Pistol Ass’n, Inc. v. Bruen, 142 S. Ct. 2111 (2022)).
                                                     7
     Case 4:23-cv-00029-O Document 27 Filed 03/19/23                  Page 8 of 24 PageID 521



(i) they “effectuate a regulatory taking without just compensation” and (ii) deny due process as

impermissibly vague.28 The parties have briefed the issues and the motion is ripe for review.

      II. LEGAL STANDARDS

           The decision to grant or deny injunctive relief is committed to the district court’s

discretion. See Miss. Power & Light Co. v. United Gas Pipe Line, 760 F.2d 618, 621 (5th Cir.

1985). To establish entitlement to a preliminary injunction, the movant must demonstrate: (1) a

substantial likelihood of success on the merits; (2) a substantial threat of irreparable harm; (3)

that the balance of hardships weighs in its favor; and (4) that the issuance of the preliminary

injunction will not disserve the public interest. Daniels Health Servs., L.L.C. v. Vascular Health

Scis., L.L.C., 710 F.3d 579, 582 (5th Cir. 2013). The last two factors merge when the government

is the opposing party. Nken v. Holder, 556 U.S. 418, 435 (2009). “A [temporary restraining

order] is simply a highly accelerated and temporary form of preliminary injunctive relief, which

requires that the party seeking such relief establish the same four elements for obtaining a

preliminary injunction.” Greer’s Ranch Café v. Guzman, 540 F.Supp.3d 638, 644–45 (N.D. Tex.

2021) (O’Connor, J.) (cleaned up).

           Upon determining that a party is entitled to injunctive relief, a court must also decide the

appropriate scope of that prospective injunction. “[T]he scope of injunctive relief is dictated by

the extent of the violation established[.]” Califano v. Yamasaki, 442 U.S. 682, 702 (1979). And

because it is considered an extraordinary remedy, an injunction “should be no more burdensome

to the defendant than necessary to provide complete relief to the plaintiffs.” Madsen v. Women’s

Health Ctr., Inc., 512 U.S. 753, 756 (1994) (cleaned up). As movant, the party seeking relief

bears the burden of proving all four elements of the preliminary injunction. Nichols v. Alcatel



28
     Id. at 18–21.
                                                    8
     Case 4:23-cv-00029-O Document 27 Filed 03/19/23                 Page 9 of 24 PageID 522



USA, Inc., 532 F.3d 364, 372 (5th Cir. 2008); Miss. Power & Light Co., 760 F.2d at 621.

     III. ANALYSIS

                                                  A.

        Because the Government claims improper venue, the Court will briefly address (but not

resolve) the issue as a threshold matter. As noted above, the Government moved to dismiss this

action based on improper venue and, after Plaintiff filed its TRO, moved to expedite the venue

briefing. The Court denied the Government’s motion to expedite. Order, ECF No. 22.29 In its

Order the Court noted that, unlike Plaintiff’s demonstrated need for emergency relief, the

Government “offered no equivalent existential reason why the Court should consider its venue

motion on an expedited basis.” Id. at 1.

        Specifically, the Government claims improper venue based on the fact that Plaintiff

cannot show that a “substantial” part of the events giving rise to its claim occurred in this district.

28 U.S.C. § 1391(e)(1). Because Plaintiff avers that it routinely transacts business in and attends

sales events in the Northern District of Texas (i.e., it has some connection to this venue), the

dispute is whether the events giving rise to the instant lawsuit that occurred within this district

are substantial enough. As the Court previously held, that question requires further analysis that

need not be rushed to the top of the Court’s docket, ahead of the numerous cases (including

several other requests for emergency relief) currently pending, given that it does not implicate

the Court’s jurisdictional authority. Bywaters v. United States, 196 F.R.D. 458, 464 (E.D. Tex.

2000) (“Venue does not relate to the power to adjudicate, but to the place where that power is to

be exercised and ‘is a concept oriented around the convenience of the litigants and the court

system.’”) (quoting Jones v. United States, 407 F. Supp. 873, 876 (N.D. Tex. 1976)).

29
  Rather than accept that decision, the Government apparently attempts an end-run around the Court’s
previous Order by incorporating its venue arguments in its response to the TRO. Def.’s Br. 8–11, ECF
No. 25.
                                                  9
     Case 4:23-cv-00029-O Document 27 Filed 03/19/23                Page 10 of 24 PageID 523



         Moreover, the Government did not then—nor does it now—cite any binding authority

dictating that this Court must resolve a non-subject matter jurisdictional venue motion before it

addresses Plaintiff’s motion for emergency relief. Id. at 1–3. The Court will address the

Government’s venue motion in due course. But for the reasons discussed, it will not expedite

consideration of that issue and, accordingly, RESERVES ruling on the venue question in the

interim.

                                                  B.

      1. Substantial Likelihood of Success on the Merits

         To show a substantial likelihood of success on the merits, Polymer80 need not show it is

entitled to summary judgment on its claim, but must present a prima facie case. Daniels Health

Servs., 710 F.3d at 582. Polymer80 has met that burden with respect to at least one of its

claims—that the Final Rule exceeds the scope of ATF’s statutory authority—and has, therefore,

satisfied “arguably the most important” of the four preliminary injunction factors. Tesfamichael

v. Gonzales, 411 F.3d 169, 176 (5th Cir. 2005).

         The Administrative Procedure Act (“APA”) instructs courts to “hold unlawful and set

aside agency action . . . found to be . . . in excess of statutory jurisdiction, authority, or

limitations.” 5 U.S.C. § 706(2)(C). Plaintiff contends that ATF’s Final Rule, and its

implementation of the regulation, exceeds the agency’s statutory authority under the plain

language of the GCA “because its redefinition of ‘frame or receiver’ and treatment of parts kits

are inconsistent with the [Act’s] plain language.”30 Plaintiff is correct.31




30
  Pl.’s Br. 13, ECF No. 15; Compl. 32–33, ECF No. 1.
31
   This Court has already determined that the Final Rule likely exceeds ATF’s statutory authority and
incorporates its prior reasoning here. Opinion & Order 6–16, Vanderstok, No. 4:22-CV-00691-O (N.D.
Tex. Sept. 2, 2022).
                                                  10
 Case 4:23-cv-00029-O Document 27 Filed 03/19/23                 Page 11 of 24 PageID 524



   a. Parts that may become receivers are not receivers.

       The text of the Gun Control Act resolves this motion. When “the statute’s language is

plain, ‘the sole function of the courts is to enforce it according to its terms.’” United States v.

Ron Pair Enters., Inc., 489 U.S. 235, 241 (1989) (citation omitted). The Court “begin[s] with the

assumption that the words were meant to express their ordinary meaning.” United States v.

Kaluza, 780 F.3d 647, 659 (5th Cir. 2015) (citation and internal quotation marks omitted). But

when a statute “includes an explicit definition,” the Court “‘must follow that definition,’ even if

it varies from a term’s ordinary meaning.” Digital Realty Tr., Inc. v. Somers, 138 S. Ct. 767, 776

(2018) (citation omitted). “Statutory language ‘cannot be construed in a vacuum. It is a

fundamental canon of statutory construction that the words of a statute must be read in their

context and with a view to their place in the overall statutory scheme.’” Sturgeon v. Frost, 577

U.S. 424, 438 (2016) (citation omitted).

       Congress carefully defined its terms in the Gun Control Act. The primary definition of

“firearm” in the Act contains three parts: “any weapon (including a starter gun) which [1] will or

[2] is designed to or [3] may readily be converted to expel a projectile by the action of an

explosive.” 18 U.S.C. § 921(a)(3)(A). Under this primary definition, a firearm is first and

foremost a weapon. Underscoring that point, Congress explicitly named starter guns in the

definition because starter guns are not obviously weapons. Then, because weapon parts also are

not “weapons,” Congress created a secondary definition covering specific weapon parts: “the

frame or receiver of any such weapon.” Id. § 921(a)(3)(B). Congress did not cover all weapon

parts—only frames and receivers. And only the frames and receivers “of any such weapon” that

Congress described in the primary definition.




                                                11
  Case 4:23-cv-00029-O Document 27 Filed 03/19/23                      Page 12 of 24 PageID 525



       Congress did not define the phrase “frame or receiver,” so the words receive their

ordinary meaning. See Kaluza, 780 F.3d at 659. In the Final Rule, ATF interprets the phrase as

two separate parts. ATF says the “term ‘frame’ means the part of a handgun . . . that provides

housing or a structure for the component (i.e., sear or equivalent) designed to hold back the

hammer, striker, bolt, or similar primary energized component prior to initiation of the firing

sequence.” 27 C.F.R. § 478.12(a)(1). ATF defines “receiver” similarly, though it says the term

refers to a “rifle, shotgun, or projectile weapon other than a handgun.” Id. § 478.12(a)(2).

       But the Final Rule did not merely update ATF’s terminology. ATF added an entirely new

section expanding its jurisdiction to include “partially complete, disassembled, or nonfunctional

frame[s] or receiver[s].” Id. § 478.12(c). ATF now claims authority to regulate parts that are

“designed to or may readily be completed, assembled, restored, or otherwise converted to

function as a frame or receiver.” Id. The parts must be “clearly identifiable as an unfinished

component part of a weapon.” Id. In deciding whether something is a partially complete frame or

receiver, ATF may consider other materials such as molds, instructions, and marketing materials

“that are sold, distributed, or possessed with the item or kit.” Id.

       The Final Rule’s redefinition of “frame or receiver” conflicts with the statute’s plain

meaning. The definition of “firearm” in the Gun Control Act does not cover all firearm parts. It

covers specifically “the frame or receiver of any such weapon” that Congress defined as a

firearm. 18 U.S.C. § 921(a)(3)(B). That which may become a receiver is not itself a receiver.

Congress could have included firearm parts that “may readily be converted” to frames or

receivers, as it did with “weapons” that “may readily be converted” to fire a projectile. But it

omitted that language when talking about frames and receivers. “[W]hen Congress includes

particular language in one section of a statute but omits it in another section of the same Act, it is


                                                  12
 Case 4:23-cv-00029-O Document 27 Filed 03/19/23                 Page 13 of 24 PageID 526



generally presumed that Congress acts intentionally and purposely in the disparate inclusion or

exclusion.” Collins v. Yellen, 141 S. Ct. 1761, 1782 (2021) (citation and internal quotation marks

omitted). Likewise, when Congress uses a phrase in one part of a definition and excludes that

phrase from another part of the very same definition, courts should give effect to Congress’s

deliberate exclusion.

       Congress excluded other adjectives that ATF adds to its definition. The Final Rule covers

“disassembled” and “nonfunctional” frames and receivers. 27 C.F.R. § 478.12(c). Congress’s

definition does not. Again, compare the language in Congress’s primary definition of “firearm”

to its secondary definition covering frames and receivers. The primary definition of “firearm”

includes any “weapon” that “is designed to” fire a projectile. 18 U.S.C. § 921(a)(3)(A). That

language covers disassembled, nonfunctional, and antique firearms because they are “designed”

to fire projectiles even if they are practically unable to do so. But Congress wanted to exclude

antiques, so it explicitly said the “term does not include an antique firearm,” once again

demonstrating awareness of the scope of the language it chose. Id. § 921(a)(3). In contrast,

Congress did not choose to cover firearm parts that are “designed” to be frames or receivers—

that is, incomplete, nonfunctional frames or receivers. “That omission is telling,” particularly

when Congress used that more expansive terminology in the same definition. Collins, 141 S. Ct.

at 1782.

       ATF’s new definition of “frame or receiver” in 27 C.F.R. § 478.12(c) is facially

unlawful. By comparison, the Final Rule includes definitions of “frame” and “receiver” in

§ 478.12(a) that appear to be consistent with the statute. This further highlights that the Final

Rule’s expansion of authority in § 478.12(c) to firearm parts that are not yet frames or receivers

goes beyond Congress’s definition. In other words, § 478.12(a) describes the full scope of frames


                                               13
     Case 4:23-cv-00029-O Document 27 Filed 03/19/23                   Page 14 of 24 PageID 527



and receivers that are consistent with the statutory scheme. ATF’s expansion in § 478.12(c), on

the other hand, covers additional parts that are “designed to or may readily be completed,

assembled, restored, or otherwise converted to function as a frame or receiver.” 27 C.F.R.

§ 478.12(c). But Congress intentionally omitted that language from the definition. Section

478.12(c) is thus facially unlawful because it describes only parts that Congress intentionally

excluded from its definition of “firearm.” It is purely an expansion of authority beyond the

statutory language. That the firearm part is “designed” to be or may one day become a frame or

receiver does not change the fact that, in that moment, it is not “the frame or receiver of any such

weapon.” 18 U.S.C. § 921(a)(3)(B).

         Defendants’ counterarguments are unpersuasive. First, Defendants urge the Court to

reject its own prior reasoning and adopt “the persuasive reasoning of other decisions denying

preliminary relief to plaintiffs challenging the [Final] Rule.”32 Having reviewed those decisions,

the Court is not persuaded by the fairly cursory statutory analysis of Morehouse Enters v. ATF,

or by the decision in Div. 80, LLC v. Garland, which did not address the merits of plaintiff’s

claim.33 In this Court’s view, the Morehouse court’s analysis does not reflect “the level of rigor

that usually accompanies statutory interpretation,” In re Harris, 988 F.3d 239, 241 (5th Cir.

2021) (Oldham, J., concurring), because it does not meaningfully engage Congress’ precise

treatment of particular statutory terms (i.e., “weapons” versus “firearms”).34 “[T]he regulatory


32
   Def.’s Br. 12, ECF No. 25 (citing Morehouse Enters. v. ATF, No. 3:22-CV-116, 2022 WL 3597299
(D.N.D. Aug. 23, 2022) appeal docketed, Arizona v. ATF, No. 22-2812 (8th Cir.) and Div. 80, LLC v.
Garland, No. 3:22-CV-148, 2022 WL 364854 (S.D. Tex. Aug. 23, 2022)).
33
   Morehouse Enters. v. ATF, No. 3:22-CV-116, 2022 WL 3597299, at *5–6 (D.N.D. Aug. 23, 2022)
appeal docketed, Arizona v. ATF, No. 22-2812 (8th Cir.) (dedicating four paragraphs to interpretive
arguments that the Court addressed at length in Vanderstok); Div. 80, LLC v. Garland, No. 3:22-CV-148,
2022 WL 364854, at *6 (S.D. Tex. Aug. 23, 2022) (“Because [plaintiff] failed to establish [irreparable
harm], the court need not address its likelihood of success on the merits.”).
34
   See, e.g., Morehouse Enters., at *5–6 (“[T]he GCA itself defines ‘firearm’ as ‘any weapon (including a
starter gun) which will or is designed to or may readily be converted to expel a projectile by the action of
                                                    14
  Case 4:23-cv-00029-O Document 27 Filed 03/19/23                      Page 15 of 24 PageID 528



goals of the Gun Control Act were narrow[]: the Act ensured that ‘weapons [were] distributed

through regular channels and in a traceable manner and [made] possible the prevention of sales

to undesirable customers and the detection of the origin of particular firearms.’” New York v.

Burger, 482 U.S. 691, 713 (1987) (emphases added) (alterations in original) (citing United States

v. Biswell, 406 U.S. 311, 315–16 (1972)). When Congress sought to regulate parts of weapons, it

did so meticulously.

        Second, Defendants contend that the Court’s reasoning in Vanderstok is inapplicable in

this case because, there, “the Court concluded that the Rule’s amended definition of ‘frame or

receiver’ likely exceeded ATF’s statutory authority because it would ‘regulate a component as a

“frame or receiver” even after ATF determines that the component in question is not a frame or

receiver.’”35 Defendants argue this case is different because, in its Open Letter and Polymer80

Letter, ATF did conclude that Polymer80’s products are “frames” and therefore “firearms” for

purposes of the GCA.36 Indeed, “[n]owhere in either letter does ATF determine these products

are not frames.”37 But the facts are not as straightforward as Defendants suggest. Importantly,

ATF issued its December 2022 letters characterizing Polymer80’s products as “firearms” in the

midst of ongoing litigation over its Final Rule and entirely unprompted, not because Plaintiff had

submitted a request for classification of its products. Even more importantly, ATF had, on

multiple occasions in the preceding years, previously determined that Polymer80’s receiver




an explosive[.]’ 18 U.S.C. § 921(a)(3)(A). . . . Congress defined ‘firearm’ more broadly than simply a
fully operational weapon, as the statute expressly includes items that ‘may readily be converted to expel a
projectile.’”).
35
    Def.’s Br. 13, ECF No. 25 (emphasis in original) (quoting Opinion 10, Vanderstok, No. 4:22-CV-
00691-O (N.D. Tex. Sept. 2, 2022)).
36
   Id.
37
   Id.
                                                   15
     Case 4:23-cv-00029-O Document 27 Filed 03/19/23                 Page 16 of 24 PageID 529



blanks are not firearms for purposes of the GCA.38 In short, the Court sees no reason to depart

from earlier reasoning with respect to the Final Rule.

      b. A weapon parts kit is not a firearm.

          Plaintiff is also likely to succeed on its claim that the Final Rule unlawfully treats weapon

parts kits as firearms. The Final Rule contains its own definition of “firearm,” notwithstanding

that the GCA already defines the term. Under the Final Rule, “[t]he term shall include a weapon

parts kit that is designed to or may readily be completed, assembled, restored, or otherwise

converted to expel a projectile by the action of an explosive.” 27 C.F.R. § 478.11 (definition of

“firearm”). That language conflicts with the statute’s definition of “firearm.”

          Despite Defendants’ arguments to the contrary, ATF has no general authority to regulate

weapon parts.39 But the Final Rule grants ATF that general authority by copying language used

throughout the statutory definition. It takes phrases like “designed to” and “may readily be

converted” and “assembled” from various places in the statute, cobbling them together to form

ATF’s own definition of “firearm.” Those terms may add a patina of credibility to the drafting,

but they tarnish Congress’s carefully crafted definition. More importantly, they unlawfully

expand ATF’s authority beyond the boundaries set by the Act.

          Under § 921(a)(3)(B), the only firearm parts that fall under ATF’s purview are “the frame

or receiver of any such weapon” that Congress defined as a firearm. 18 U.S.C. § 921(a)(3)(B).

But the Final Rule regulates weapon parts kits that are “designed to or may readily be completed,

assembled, restored, or otherwise converted to expel a projectile by the action of an explosive.”

27 C.F.R. § 478.11. The statute covers “any weapon” that is “designed to” or “may readily be

converted to” fire a projectile. 18 U.S.C. § 921(a)(3)(A) (emphasis added). Congress’s definition


38
     See note 2 supra.
39
     Def.’s Br. 15, ECF No. 25.
                                                   16
     Case 4:23-cv-00029-O Document 27 Filed 03/19/23              Page 17 of 24 PageID 530



does not cover weapon parts, or aggregations of weapon parts, regardless of whether the parts

may be readily assembled into something that may fire a projectile.40

          The statutory context repeatedly confirms that Congress intentionally chose not to

regulate “weapon” parts generally. As further evidence, look to § 921(a)(4)(C), which does allow

for the regulation of “parts.” But it allows for the regulation only of parts of “destructive

devices”—one of the four statutory sub-definitions of “firearm.” Id. § 921(a)(3)(D). The term

“destructive device” is defined as “any explosive, incendiary, or poison gas,” such as a bomb,

grenade, mine, or similar device. Id. § 921(a)(4)(A). The definition of “destructive device” also

includes “any type of weapon” that “may be readily converted to, expel a projectile by the action

of an explosive or other propellant, and which has any barrel with a bore of more than one-half

inch in diameter.” Id. § 921(a)(4)(B). For example, suppose a manufacturer tried to sell a parts

kit to make a homemade grenade. ATF could regulate that parts kit because it can regulate “any

combination of parts either designed or intended for use in converting any device into” a

grenade, from which a grenade “may be readily assembled.” Id. § 921(a)(4)(C). Likewise for

bombs, rockets, missiles, and other destructive devices. But commonly sold firearms such as

9mm pistols or .223 rifles do not fall under the specialized definition of “destructive devices,” so

weapon parts kits for those firearms cannot be properly regulated as components of “destructive

devices.” Id. § 921(a)(4).

          In sum, the Gun Control Act’s precise wording demands precise application. Congress

could have described a firearm as “any combination of parts” that would produce a weapon that

could fire a projectile. It used that language elsewhere in the definition. Id. § 921(a)(4)(C).

Congress could have described a firearm as any part “designed” to be part of a weapon. It used



40
     Def.’s Br. 14–15, ECF No. 25.
                                                17
     Case 4:23-cv-00029-O Document 27 Filed 03/19/23                   Page 18 of 24 PageID 531



that language too. Id. § 921(a)(3)(A), (a)(4)(C). Congress could have described a firearm as a set

of parts that “may be readily assembled” into a weapon, as it did for “destructive device.” Id.

§ 921(a)(4)(C). Congress could have written all those things, and the very definition of “firearm”

demonstrates that Congress knew the words that would accomplish those ends.41 But Congress

did not regulate firearm parts as such, let alone parts kits that are “designed to or may readily be

completed, assembled, restored, or otherwise converted to expel a projectile by the action of an

explosive.” 27 C.F.R. § 478.11.

                                         *       *        *      *

         For the reasons discussed, the Court stands by its earlier reasoning and finds that Plaintiff

has demonstrated a strong likelihood of success on the merits of its claims that the Final Rule—

specifically, 27 C.F.R. §§ 478.11, 478.12(c)—exceeds the scope of ATF’s authority under the

Gun Control Act. Because it has satisfied this element with its APA claim, the Court need not

address the merits of its remaining claims.

      2. Substantial Threat of Irreparable Harm

         In the Fifth Circuit, a harm is considered “irreparable only ‘if it cannot be undone through

monetary remedies.’” Dennis Melancon, Inc. v. City of New Orleans, 703 F.3d 262, 279 (5th Cir.

2012) (quoting Interox Am. v. PPG Indus., Inc., 736 F.2d 194, 202 (5th Cir.1984)). A showing of

 Congress’s definition of “machine gun” elsewhere in the U.S. Code is a great example of a definition
41

would fit the kind of rule ATF has in mind:

         The term “machinegun” means any weapon which shoots, is designed to shoot, or can be
         readily restored to shoot, automatically more than one shot, without manual reloading, by
         a single function of the trigger. The term shall also include the frame or receiver of any
         such weapon, any part designed and intended solely and exclusively, or combination of
         parts designed and intended, for use in converting a weapon into a machinegun, and any
         combination of parts from which a machinegun can be assembled if such parts are in the
         possession         or       under        the        control       of       a       person.

26 U.S.C. § 5845(b) (emphases added); see also Buckeye Check Cashing, Inc. v. Cardegna, 546 U.S. 440,
448 (2006) (“Our more natural reading is confirmed by the use of the word ‘contract’ elsewhere in the
United States Code . . . .”).
                                                     18
     Case 4:23-cv-00029-O Document 27 Filed 03/19/23               Page 19 of 24 PageID 532



economic loss is usually insufficient to establish irreparable harm because damages may be

recoverable at the conclusion of litigation. Janvey v. Alguire, 647 F.3d 585, 600 (5th Cir. 2011).

However, “an exception exists where the potential economic loss is so great as to threaten the

existence of the movant’s business.” Atwood Turnkey Drilling, Inc. v. Petroleo Brasileiro, S.A.,

875 F.2d 1174, 1179 (5th Cir. 1989). And where costs are not recoverable because the

government-defendant enjoys sovereign immunity from monetary damages, as is the case here,

irreparable harm is generally satisfied. See Wages & White Lion Invs., L.L.C. v. FDA, 16 F.4th

1130, 1142 (5th Cir. 2021).

         Plaintiff alleges that it continues to suffer irreparable harm in the form of unrecoverable

compliance costs and—within days of this Order—is threatened with having to dissolve its

business if its economic losses continue unabated.42 Defendants contest Plaintiff’s alleged injury

on grounds that it purportedly waited eleven months to seek an injunction and that any harm

Polymer80 is suffering is purely “self-inflicted.”43 The Court disagrees.

         Because Defendants in this case are entitled to sovereign immunity, and therefore not

liable for damages, Plaintiff’s economic injuries cannot be recovered. Moreover, Plaintiff alleges

that its business enterprise faces certain dissolution if the Court does not provide immediate

relief from compliance with the Final Rule. In this way also, Polymer80’s harm “threaten[s] the

existence of [its] business,” and is therefore irreparable for purposes of injunctive relief. Atwood,

875 F.2d at 1179. Notably, Defendants do not contest the assertion that the company’s

dissolution will likely result.44

         Importantly, irreparable harm need not be financial in nature. Even “alleged”

deprivations of constitutional or procedural rights may justify injunctive relief. See, e.g., Opulent

42
   Pl.’s Br. 21–22, ECF No. 15.
43
   Def.’s Br. 22–24, ECF No. 25.
44
   See Def.’s Br. 23–24, ECF No. 25.
                                                 19
     Case 4:23-cv-00029-O Document 27 Filed 03/19/23                Page 20 of 24 PageID 533



Life Church v. City of Holly Springs, Miss., 697 F.3d 279, 294–97 (5th Cir. 2012) (finding

irreparable harm where plaintiffs “alleged” violations of constitutional rights on grounds that

“[t]he loss of [constitutional] freedoms, for even minimal periods of time, unquestionably

constitutes irreparable injury”) (quoting Elrod v. Burns, 427 U.S. 347, 373 (1976)); see also

Louisiana v. Horseracing Integrity & Safety Auth. Inc., No. 6:22-CV-01934, 2022 WL 2960031,

at *13 (W.D. La. July 26, 2022) (finding irreparable harm where plaintiffs alleged action in

excess of statutory authority and APA violations). Plaintiff’s Complaint alleges deprivations of

both constitutional and procedural rights. For this reason, Plaintiff need not cure its economic

harm by simply opting to comply with a regulation that is likely unlawful, as

Defendants suggest.45

         The Court is unpersuaded by Defendants’ argument that Plaintiff’s harm is “self-

inflicted” and therefore does not constitute irreparable harm.46 For this, Defendants’ rely on the

Fifth Circuit’s decision in State v. Biden, 10 F.4th 538, 558 (5th Cir. 2021).47 In that case, the

Fifth Circuit indicated that “self-inflicted” injuries do not qualify as irreparable harm. Biden, 10

F.4th at 558.

         But the facts in Biden are distinguishable from the facts of this case. There, the plaintiffs

(two states) sued the defendants (several federal government actors, including DHS) over the

latter’s suspension of a prior presidential administration’s immigration program. Id. at 543–46.

The states prevailed in the district court and DHS was required to resume the program. Id.

Thereafter, DHS sought an emergency stay pending appeal, which required it to make a showing

of irreparable harm. Id. at 545. Among other things, DHS tried to substantiate its irreparable

injury by claiming it had already begun administratively winding down the program and that

45
   Id.
46
   Def.’s Br. 23–24.
47
   Id.
                                                  20
     Case 4:23-cv-00029-O Document 27 Filed 03/19/23              Page 21 of 24 PageID 534



requiring it to resume would inflict a great degree of harm. Id. at 558. The Fifth Circuit rejected

this argument. Id. It found that DHS’s decision, in the middle of ongoing litigation, to terminate

and unwind the program—and its attempt to use this decision to support a showing of irreparable

harm—was a “self-inflicted” harm that severely undermined its claim for emergency relief. Id. In

the court’s view, DHS could have avoided this injury by simply waiting for resolution of the

underlying legal dispute before winding down the program. Id.

          By contrast, Polymer80 stopped selling its products in response to the Government’s

Final Rule and subsequent guidance letters, which it claims violate its statutory and

constitutional rights. Thus, Polymer80 faces irreparable injury whatever course it takes—suffer

economic injury or comply with a regulation it alleges the Government has no authority to

enforce. For this reason, and because Defendants’ contrary arguments overlook clear Fifth

Circuit precedent identifying such injuries as irreparable harm, the Court is satisfied that

Polymer80’s alleged injuries are indeed irreparable and are not self-inflicted.

          Finally, while Defendants claim Plaintiff waited nearly a year to seek relief, this

suggested timeline is exaggerated. Whether a period of delay militates against a finding of

irreparable harm turns on the facts of the particular case. See, e.g., ADT, LLC v. Cap. Connect,

Inc., 145 F. Supp. 3d 671, 699 (N.D. Tex. 2015) (finding an eight-month delay reasonable);

Wireless Agents, L.L.C. v. T-Movile USA, Inc., No. 3:05-CV-0094-D, 2006 WL 1540587, at *3

(N.D. Tex. June 6, 2006) (finding a year’s delay unreasonable). Plaintiff initially thought its

interests would be protected by a possible nationwide injunction that was pending in Vanderstok,

a lawsuit that commenced before the Final Rule took effect.48 When it learned in September

2022 that its interests would not be protected by an injunction in that case, Plaintiff made good



48
     Pl.’s Reply 18, ECF No. 26-1.
                                                21
     Case 4:23-cv-00029-O Document 27 Filed 03/19/23            Page 22 of 24 PageID 535



faith efforts to comply with the regulation.49 However, upon receiving the guidance letters from

ATF in late December 2022, Plaintiff learned its business model was no longer viable.50 Less

than two weeks later, Plaintiff sought to intervene in the Vanderstok case and simultaneously

filed the instant lawsuit. Six weeks thereafter, Plaintiff sought this TRO. On these facts, the

Court finds that Plaintiff’s purported delay does not weigh against a finding of irreparable harm

and finds this element is satisfied.

      3. Balance of Hardships & the Public Interest

         Next, the Court must weigh the equities and the public interest, which “merge” when the

Government is a party. Nken, 556 U.S. at 435. Defendants assert a public interest in “preventing

individuals from obtaining and using in criminal activity unserialized firearms that cannot be

traced by law enforcement,” an interest that it contends an injunction will thwart.51 Meanwhile,

Plaintiffs assert the public interest in ensuring the Government abides by its statutory and

constitutional obligations.52 There is undoubtedly “an overriding public interest [in] . . . an

agency’s faithful adherence to its statutory mandate.” Jacksonville Port Auth. v. Adams, 556 F.2d

52, 59 (D.C. Cir. 1977). And “[t]he public interest is served when administrative agencies

comply with their obligations under the APA.” N. Mariana Islands v. United States, 686 F. Supp.

2d 7, 21 (D.D.C. 2009). Nor do Defendants dispute that the core of Plaintiff’s clientele base is

comprised of law-abiding citizens who wish to engage in the lawful conduct of manufacturing

personal firearms—conduct that has been lawful for the last half-century. Moreover, Defendants

concede that their asserted public interest can be adequately protected by excluding from any




49
   Id.
50
   Def.’s Br. 24–25, ECF No. 25.
51
   See Defs.’ Resp. 43, ECF No. 41.
52
   Pl.’s Reply 20, ECF No. 26-1.
                                               22
     Case 4:23-cv-00029-O Document 27 Filed 03/19/23                Page 23 of 24 PageID 536



relief persons prohibited from possessing firearms under 18 U.S.C. § 922(g), as the Court has

done in crafting similarly situated manufacturer’s relief.53

         While both parties claim valid public interests, on balance, the equities and public interest

weigh in favor of Plaintiff. Any injury to Defendants is further outweighed by Plaintiff’s strong

likelihood of success on the merits of its statutory interpretation claim. See Freedom From

Religion Found., Inc. v. Mack, 4 F.4th 306, 316 (5th Cir. 2021). Finally, the Court will tailor the

scope of the temporary restraining order and preliminary injunction with careful attention to

avoid further upsetting the balance of these competing public interests.

                                       *       *        *      *

         In sum, Polymer80, Inc. has shown it is entitled to preliminary injunctive relief. Having

considered the arguments, evidence, and law, the Court holds that the relevant factors weigh in

favor of a preliminary injunction. When ordering injunctive relief, the Court is obligated to state

“specifically” and “in reasonable detail . . . the act or acts restrained or required” under the

injunction. Fed. R. Civ. P. 65(d)(1)(b). Accordingly, the Court preliminarily ENJOINS

Defendants and their officers, agents, servants, and employees are enjoined from implementing

or enforcing against Polymer80, Inc. or its customers, in any manner, the provisions in 27 C.F.R.

§ 478.11 and 478.12 that this Court has determined are likely unlawful. In keeping with the relief

this Court has afforded to other similarly situated manufacturers, the Court also extends the

injunction to Polymer80’s customers, who must be willing to transact business with Polymer80

without fear of criminal liability, in order for Polymer80’s relief to be effective. The Court

defines “customers” as: individuals or entities who purchase directly from Polymer80 any




53
  Def.’s Br. 25, ECF No. 25; see, e.g., Order 1–2, Vanderstok, No. 4:22-CV-00691-O (N.D. Tex. Oct. 3,
2022).
                                                   23
 Case 4:23-cv-00029-O Document 27 Filed 03/19/23                 Page 24 of 24 PageID 537



product classified as a “firearm” under 27 C.F.R. § 478.11 or § 478.12(c). This definition does

not include persons prohibited from possessing firearms by 18 U.S.C. § 922(g).

   IV. CONCLUSION

       For the reasons discussed, the Court GRANTS Plaintiff’s motion for leave to file an

overlength brief (ECF No. 26) and for a temporary restraining order and preliminary injunction

(ECF No. 14). The Court ORDERS that Defendants and their officers, agents, servants, and

employees are enjoined from implementing or enforcing against Polymer80, Inc. or its

customers, in any manner, the provisions in 27 C.F.R. § 478.11 and 478.12 that this Court has

determined are likely unlawful. The Court waives the security requirement of Fed. R. Civ. P.

65(c). Kaepa, Inc. v. Achilles Corp., 76 F.3d 624, 628 (5th Cir. 1996).

       SO ORDERED this 19th day of March, 2023.


                                                  _____________________________________
                                                  Reed O’Connor
                                                  UNITED STATES DISTRICT JUDGE




                                                24
